      Case 1:16-cv-02772-RA-RWL Document 101 Filed 11/05/20 Page 1 of 1




                                                   November 4, 2020

Via ECF Only
The Honorable Robert W. Lehrburger
United States Magistrate Judge for the
Southern District of New York
500 Pearl Street                                                                   11/5/2020
New York, New York 10007

       Re:    Villalta v. J.S. Barkats P.L.L.C., et al., 16-cv-2772 (RA)(RWL)

Dear Judge Lehrburger:

       As the Court knows, we represent the Plaintiff, Denisse Villalta, in the above-referenced
matter. We write to request a two-week further extension of time to submit Plaintiff’s proposed
findings of fact and conclusions of law. The new deadline for submission would be November 25,
2020, with Defendants’ responses, if any, due on or before December 16, 2020. This is the third
request to extend this deadline and no other dates or deadlines will be impacted. Defendants’
counsel consents to this request. We thank the Court for its time and attention to this matter.

                                                   Respectfully submitted,


                                                   Michael R. Minkoff, Esq.
                                                       For the Firm

Copies to:    Counsel for Defendants (via ECF)




                                 11/5/2020
